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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                       Case No. 8:21-mj-1499-CPT

DANIEL LYONS SCOTT
______________________________/


                               ORDER OF RELEASE

It is hereby ORDERED:

1.     The conditions of release are hereby established as set forth below.

2.     The United States Marshal is hereby directed to release the above named
       Defendant upon his agreement, in writing, to comply with the following
       conditions of release.

       DONE and ORDERED in Tampa, Florida this 20th day of May 2021.
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